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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   ROANOKE DIVISION

  UNITED STATES OF AMERICA,                           )
                                                      )
  Plaintiff,                                          )
                                                      )
  v.                                                  )
                                                      )   Case No. 7:19-CV-00354
  SOUTHERN COAL CORPORATION, ET AL.                   )
                                                      )
  Defendants.                                         )
  ____________________________________                )


                             NOTICE OF PARTIAL PAYMENT

         The United States hereby provides notice it received a $20,000 payment from Defendants

 on November 12, 2024. The balance of the debt is now $459,041.53.



                                            Respectfully submitted,

                                            CHRISTOPHER R. KAVANAUGH
                                            United States Attorney

 Date: November 14, 2024                     /s/ Laura Day Taylor
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                                                      Counsel for Plaintiff




                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was electronically filed via

 the Court’s CM/ECF system, which will send notice to all counsel of record.


                                                     /s/ Krista Consiglio Frith
                                                     Krista Consiglio Frith
                                                     Assistant United States Attorney




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